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 5
     Attorney for Defendant,
 6   ANDREW CONWAY

 7
                                IN THE UNITED STATES DISTRICT COURT
 8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                        CASE NO. 2:06-cr-00476-MCE

11               Plaintiff,                           STIPULATION AND ORDER

12        vs.                                         DATE: May 7, 2009
                                                      TIME: 9:00 AM
13   ANDREW CONWAY,                                   JUDGE: Hon. Morrison England

14               Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Jason

17   Hitt, Assistant U.S. Attorney, and defendant Andrew Conway, by and through his attorney, Dan

18   Koukol, that the sentencing hearing of May 7, 2009 be vacated and that a sentencing hearing be

19   set for June 25, 2009 at 9:00 AM.

20          //

21          //

22          //

23          //

24          //

25          //
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 1          This continuance is being requested to allow Jason Hitt to complete certain tasks prior to

 2   the sentencing hearing.

 3
     DATED: MAY 4, 2009                          Respectfully submitted,
 4

 5                                       /s/ DAN KOUKOL
                                         _________________________________
 6                                       DAN KOUKOL
                                         Attorney for defendant Andrew Conway
 7

 8
     DATED: MAY 4, 2009                          Respectfully submitted,
 9

10                                       /s/ DAN KOUKOL FOR
                                         _________________________________
11                                       Jason Hitt
                                         Assistant U.S. Attorney
12
           IT IS SO ORDERED.
13
DATED: May 5, 2009
14
                                      __________________________________
15                                    MORRISON C. ENGLAND, JR
                                      UNITED STATES DISTRICT JUDGE
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